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Case 2:19-cv-00371-RMP ECFNo.15_ filed 02/10/20 PagelD.129 Page 1 of 26

Thomas W. McLane, WSBA #12226
Law Firm of Thomas W. McLane, PLLC
103 E. Indiana Ave., Suite A

Spokane, WA 99207

Phone: (509) 290-6968

Email: twm@twmclanelaw.com
Attorneys for Defendants

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

SPOKANE DIVISION
LONNIE TOFSRUD, an individual, )
Plaintiff, ) Case No. 2:19-cv-00371
)
“. ) DEFENDANTS’ CITY OF
CITY OF SPOKANE, a municipal ) SPOKANE’S, CRAIG MEIDEL’S,
corporation in the State of ) JUSTIN LUNDGREN’S AND
Washington, CRAIG MEIDL, in his ) DAVE STABEN’S ANSWER TO
personal and official capacity, JUSTIN ) AMENDED COMPLAINT FOR
LUNDGREN, in his personal and ) DAMAGES AND JURY DEMAND
official capacity, and DAVE )
STABEN, in his personal and official _)
capacity,
Defendants. )
)

 

COME NOW each of the named Defendants, the City of Spokane, Craig
Meidl, Justin Lundgren and Dave Staben (hereinafter the Named Defendants), by

and through their counsel of record, Thomas W. McLane of the Law Firm of

DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC

. 103 E. Indiana Ave., Suite A
COMPLAINT FOR DAMAGES - | OF 26 Spokane, WA 99207

Phone: (509) 290-6968

 
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Thomas W. McLane, PLLC, and in answer to the Complaint, admit, deny, and
allege as follows:
INTRODUCTORY STATEMENT

f, The named Defendants admit the existence of claims asserted against
the named Defendants. The named Defendants deny the validity of any claim
against the named Defendants.

2. The named Defendants admit all were acting in their official capa-
cities as it related to action taken concerning Plaintiff. The named Defendants
deny the remaining allegations contained in Paragraph 2 of the Complaint.

JURISDICTION AND VENUE

3. Defendants admit that this Court has jurisdiction over this matter but
deny the remaining allegations in Paragraph 3. Defendants deny the remaining
allegations contained Paragraph 3 of the Complaint.

4, Defendants admit venue is proper in this judicial District but deny the
existence of any inappropriate action by any or all of the named Defendants and

therefore deny the remaining allegations contained in Paragraph 4 of the

Complaint.
DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC
COMPLAINT FOR DAMAGES - 2 OF 26 103 E. Indiana Ave., Suite A

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PARTIES
5. The named Defendants admit the allegations contained in Paragraph
5 of the Complaint.
6. The named Defendants admit a lawsuit was filed against the City of

Spokane, a municipal corporation. The named Defendants further admit that the
Spokane Police Department is a department within the City and is often liable for
the acts and omissions of the Spokane Police Department and its employees and
agents. Except as admitted, the named Defendants deny the remaining
allegations contained in Paragraph 6 of the Complaint, together with any and all
inferences taken therefrom.

Ts The named Defendants admit the allegations contained in sentences 1
and 2 of Paragraph 7 but deny the remaining allegations contained in Paragraph 7
of the Complaint, together with any and all inferences taken therefrom.

8. The named Defendants admit the allegations contained in Paragraph
8 of the Complaint.

9, The named Defendants admit the allegations contained in Paragraph

9 of the Complaint.

FACTUAL BACKGROUND
DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC
COMPLAINT FOR DAMAGES - 3 OF 26 103 E. Indiana Ave., Suite A

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10. The named Defendants admit Plaintiff, as is with the other co-
workers of the City of Spokane, is a valued employee who has received reviews
and written commendations during his employment with Defendant City of
Spokane. It is further admitted that Plaintiff worked in the Targeted Crimes unit
until he was reassigned. Except as specifically admitted, the named Defendants
deny the remaining allegations contained in Paragraph 10 of the Complaint,
together with any and all inferences taken therefrom.

11. The named Defendants admit the first two sentences of Paragraph 11.
The named Defendants deny the remaining allegations contained in Paragraph 11
of the Complaint, together with any and all inferences taken therefrom.

12. The named Defendants admit all but sentence 5 contained in
Paragraph 12. Sentence 5 is denied due to a lack of sufficient knowledge of the
referenced but unidentified email.

13. The named Defendants admit the allegations contained in Paragraph
13 of the Complaint.

14. The named Defendants admit the allegations contained in Paragraph

14 of the Complaint.

DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC

COMPLAINT FOR DAMAGES - 4 OF 26 103 E. Indiana Ave., Suite A
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15. The named Defendants admit sentences 1-4. The named Defendants
deny the remaining allegations contained in Paragraph 15 of the Complaint,
together with any and all inferences taken therefrom.

16. The named Defendants admit the allegations contained in the first
sentence of Paragraph 16. Defendants lack sufficient knowledge to admit or
deny the remaining allegations of Paragraph 16, and therefore deny the same.

17. The named Defendants lack sufficient knowledge to admit or deny
the allegations contained in Paragraph 17 and therefore deny the same.

18. The named Defendants are aware that a case was not pursued, and
that Lieutenant Stevens was contacted by Chief Criminal Prosecutor Driscoll
pursuant to an office policy requiring referral of allegations of officer misconduct
to the internal investigations unit of the subject agency. Except as admitted, the
named Defendants lack sufficient information to admit or deny the remaining
allegations contained in Paragraph 18 and therefore deny the same.

19. The named Defendants admit that Defendant Staben began a shift

level investigation at the direction of Lt. Stevens. The named Defendants deny
the remaining allegations contained in Paragraph 19 of the Complaint, together

with any and all inferences taken therefrom.

DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC

COMPLAINT FOR DAMAGES - 5 OF 26 103 E. Indiana Ave., Suite A
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20. The named Defendants admit the allegations contained in sentences
1, 2 and 9 of Paragraph 20 of the Complaint. The named Defendants admit that
portion of sentence 3 which alleges that on January 15, 2018 that Plaintiff and
Sergeant Preuniger were added to the IA, but deny the remaining allegations
contained in Paragraph 20 of the Complaint, together with any and all inferences
taken therefrom.

21. The named Defendants admit the allegations contained in sentences
1, 2, and 5 of Paragraph 21 of the Complaint. The named Defendants deny the
remaining allegations contained in Paragraph 21 of the Complaint, together with
any and all inferences taken therefrom.

22. The named Defendants admit the allegations contained in sentence |
of Paragraph 22 of the Complaint. Defendants further admit the matter was
reassigned by Stevens and that Sergeant Carr and Sergeant Waters handled the
bulk of the investigation. Except as admitted herein, the remaining allegations
contained in Paragraph 22 of the Complaint, together with any and all inferences

taken therefrom, are denied.
23. The named Defendants deny the allegations contained in Paragraph

23 of the Complaint, together with any and all inferences taken therefrom.

DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC

COMPLAINT FOR DAMAGES - 6 OF 26 103 E. Indiana Ave., Suite A
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24. The named Defendants admit Plaintiff contacted the City’s HR
Department to complain about Defendant Staben. Except as specifically
admitted, the named Defendants lack sufficient information to admit or deny the
remaining allegations in Paragraph 24, and therefore deny the remaining
allegations contained in Paragraph 24 of the Complaint.

25. The named Defendants admit Plaintiff was interviewed by Sergeant
Carr and was read his administrative rights. Defendants deny the remaining
allegations contained in Paragraph 25 of the Complaint, together with any and all
inferences taken therefrom.

26. The named Defendants admit the allegations contained in the first
sentence of Paragraph 26 of the Complaint. The named Defendants deny the
remaining allegations contained in Paragraph 26 of the Complaint, together with
any and all inferences taken therefrom.

27. The named Defendants admit the allegations contained in sentences
1, 2, and 3 of Paragraph 27 of the Complaint, but deny the remaining allegations

contained in Paragraph 27 of the Complaint, together with any and all inferences

taken therefrom.
DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC
COMPLAINT FOR DAMAGES - 7 OF 26 103 E. Indiana Ave., Suite A

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Phone: (509) 290-6968

 
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28. The named Defendants admit sentences 1 and 5 of Paragraph 28 of
the Complaint. The named Defendants further admit that Plaintiff provided a list
of witnesses with his rebuttal statement whom were not interviewed. The named
Defendants lack sufficient information to admit or deny sentence 3 and therefore
deny the allegations contained therein. The named Defendants deny the
remaining allegations contained in Paragraph 28 of the Complaint, together with
any and all inferences taken therefrom.

29. The named Defendants admit the allegations contained in Paragraph
29, except for the allegation that a miscarriage of justice occurred. This
allegation is specifically denied.

30. The named Defendants deny the last sentence in Paragraph 30.
Except as specifically denied, the named Defendants admit the remaining
allegations set forth in Paragraph 30.

31. The named Defendants lack sufficient information to admit or deny
the allegations contained in Paragraph 31 and therefore deny the same.

32. The named Defendants lack sufficient information to admit or deny

the allegations contained in Paragraph 32 and therefore deny the same.

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COMPLAINT FOR DAMAGES - 8 OF 26 103 E. Indiana Ave., Suite A
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33. The named Defendants admit sentences | and 2 of Paragraph 33 and
deny the remaining allegations contained in Paragraph 33 of the Complaint,
together with any and all inferences taken therefrom.

34. The named Defendants admit the allegations contained in the first
two sentences of Paragraph 34. Except as specifically admitted, Defendants deny
the remaining allegations contained in Paragraph 34 of the Complaint, together
with any and all inferences taken therefrom.

35. The named Defendants deny the allegations contained in Paragraph
35 of the Complaint, together with any and all inferences taken therefrom.

36. The named Defendants lack sufficient information to admit or deny
the allegations contained in Paragraph 36 of the Complaint and therefore deny the
same.

37. The named Defendants admit that a report was submitted on or about
November 20, 2018 by Jennifer Jackson regarding Plaintiff's complaint. The
named Defendants deny the remaining allegations contained in Paragraph 37 of

the Complaint, together with any and all inferences taken therefrom.

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COMPLAINT FOR DAMAGES - 9 OF 26 103 E. Indiana Ave., Suite A
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38. The named Defendants state that the report speaks for itself. The
named Defendants deny the remaining allegations contained in Paragraph 38 of
the Complaint, together with any and all inferences taken therefrom.

39. The named Defendants admit both individuals were issued PID
letters by a third party over whom the named Defendants had no control. While
Plaintiff has been assigned to a precinct, the named Defendants deny the two
individuals were similarly situated. Except as specifically admitted, the named
Defendants deny the remaining allegations contained in Paragraph 39 of the
Complaint, together with any and all inferences taken therefrom.

40. The named Defendants deny the allegations contained in Paragraph
40 of the Complaint, together with any and all inferences taken therefrom.

41. The named Defendants admit Plaintiff was originally assigned with
varying duties, including but not limited to duties as outlined in sentence | of
Paragraph 41 of the Complaint. The named Defendants further admit sentences
2,3, 4, 5, 6 and 8 of Paragraph 41 of the Complaint. Except as to what has been

specifically admitted, the named Defendants deny the remaining allegations

contained in Paragraph 41, together with any and all inferences taken therefrom.

DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC

COMPLAINT FOR DAMAGES - 10 OF 26 103 E. Indiana Ave., Suite A
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42. The named Defendants admit that Plaintiff was directed to report to
the Academy to qualify for firearms certification and to review new and/or
updated policies and/or procedures and/or to complete other departmental
mandates such as crisis intervention training. Except as to what has been
specifically admitted, the named Defendants deny the remaining allegations
contained in Paragraph 42 of the Complaint, together with any and all inferences
taken therefrom.

CLAIMS FOR RELIEF
FIRST CLAIM FOR RELIEF
42 USC § 1983 — Fourteenth Amendment
Count One: Violation of Plaintiff's Procedural and Substantive Due
Process Rights
(All Defendants)

43. The named Defendants reallege their admissions, denials and

averments contained in Paragraphs 1 to 42 as if fully set forth herein.

44, The named Defendants assert the allegations within Paragraph 44 of

Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no

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COMPLAINT FOR DAMAGES - 11 OF 26 103 E. Indiana Ave., Suite A
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response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 44 of the Complaint.

45. The named Defendants assert the allegations within Paragraph 45 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent Plaintiff claims any of the named Defendants
did not act under color of state law, the named Defendants deny that portion of
the allegations contained in Paragraph 45 of the Complaint.

46. The named Defendants assert the allegations within Paragraph 46 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 46 of the Complaint,
together with any and all inferences taken therefrom.

47, The named Defendants assert the allegations within Paragraph 47 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named

Defendants deny the allegations contained in Paragraph 47 of the Complaint,

together with any and all inferences taken therefrom.

DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC

COMPLAINT FOR DAMAGES - 12 OF 26 103 E. Indiana Ave., Suite A
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Case 2:19-cv-00371-RMP ECFNo.15_ filed 02/10/20 PagelD.141 Page 13 of 26

48. The named Defendants assert the allegations within Paragraph 48 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 48 of the Complaint,
together with any and all inferences taken therefrom.

49. The named Defendants assert the allegations within Paragraph 49 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 49 of the Complaint,
together with any and all inferences taken therefrom.

50. The named Defendants assert the allegations within Paragraph 50 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 50 of the Complaint,
together with any and all inferences taken therefrom.

51. The named Defendants assert the allegations within Paragraph 51 of

Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no

response is required. To the extent a response is deemed necessary, the named

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COMPLAINT FOR DAMAGES - 13 OF 26 103 E. Indiana Ave., Suite A
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Defendants deny the allegations contained in Paragraph 51 of the Complaint,
together with any and all inferences taken therefrom.

52. The named Defendants assert the allegations within Paragraph 52 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 52 of the Complaint,
together with any and all inferences taken therefrom.

Count Two: Violation of Plaintiff's Right to Equal Protection
(All Defendants)

53. The named Defendants incorporate by reference their admissions,
denials and averments contained in Paragraphs 1-52 as if fully set forth herein.

54. The named Defendants admit there is a policy prohibiting
untruthfulness in the performance of official duties. The Defendants deny the
remaining allegations contained in Paragraph 54 of the Complaint, together with
any and all inferences taken therefrom.

55. The named Defendants deny the allegations contained in Paragraph

55 of the Complaint, together with any and all inferences taken therefrom.

DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC

COMPLAINT FOR DAMAGES - 14 OF 26 103 B; Indians Ave. Sulte A
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56. The named Defendants deny the allegations contained in Paragraph
56 of the Complaint, together with any and all inferences taken therefrom.

57. The named Defendants assert the allegations within Paragraph 57 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 57 of the Complaint,
together with any and all inferences taken therefrom.

58. The named Defendants assert the allegations within Paragraph 58 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 58 of the Complaint,
together with any and all inferences taken therefrom.

59. The named Defendants assert the allegations within Paragraph 59 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named

Defendants deny the allegations contained in Paragraph 59 of the Complaint,

together with any and all inferences taken therefrom.

DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC

COMPLAINT FOR DAMAGES - 15 OF 26 103 E, Indiana Ave., Suite A
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Case 2:19-cv-00371-RMP ECFNo. 15 filed 02/10/20 PagelD.144 Page 16 of 26

60. The named Defendants deny Plaintiff is entitled to any of the relief
sought in Paragraph 60 of the Complaint.
SECOND CLAIM FOR RELIEF
42 USC § 1983 — First Amendment
Violation of Right to Free Speech — Public Employees
(All defendants)

61. The named Defendants incorporate their admissions, denials and
averments contained in Paragraphs 1-60 as if fully set forth herein.

62. The named Defendants assert the allegations within Paragraph 62 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 62 of the Complaint,
together with any and all inferences taken therefrom.

63. The named Defendants admit the allegation contained in Paragraph
63 of the Complaint.

64. The named Defendants assert the allegations within Paragraph 64 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no

response is required. To the extent a response is deemed necessary, the named

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COMPLAINT FOR DAMAGES - 16 OF 26 103 E. Indiana Ave., Suite A
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Defendants deny the allegations contained in Paragraph 64 of the Complaint,
together with any and all inferences taken therefrom.

65. The named Defendants assert the allegations within Paragraph 65 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants admit all actions taken were taken in their official capacities and
under color of state law. The named Defendants deny any remaining allegations
contained in Paragraph 65 of the Complaint, together with any and all inferences
taken therefrom.

66. The named Defendants deny Plaintiff suffered any retaliatory actions
and therefore deny the allegations contained in Paragraph 66 of the Complaint,
together with any and all inferences taken therefrom.

67. The named Defendants deny the allegations contained in Paragraph
67 of the Complaint, together with any and all inferences taken therefrom.

68. The named Defendants deny responsibility for the relief sought in

Paragraph 68 of the Complaint.

THIRD CLAIM FOR RELIEF

Outrage
DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC
COMPLAINT FOR DAMAGES - 17 OF 26 103 E. Indiana Ave., Suite A

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Case 2:19-cv-00371-RMP ECFNo.15_ filed 02/10/20 PagelD.146 Page 18 of 26

(All defendants)

69. The named Defendants incorporate by reference their admissions,
denials and averments contained in Paragraphs 1-68 as if fully set forth herein.

70. The named Defendants assert the allegations within Paragraph 70 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 70 of the Complaint,
together with any and all inferences taken therefrom.

71. The named Defendants assert the allegations within Paragraph 71 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 71 of the Complaint,
together with any and all inferences taken therefrom.

72. The named Defendants assert the allegations within Paragraph 72 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 72 of the Complaint,

together with any and all inferences taken therefrom.

DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC

COMPLAINT FOR DAMAGES - 18 OF 26 103 B. Indiana Ave, Suite A
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73. The named Defendants assert the allegations within Paragraph 73 of
Plaintiffs’ Complaint constitute legal arguments, legal conclusions and/or a
prayer for relief, to which no response is required. To the extent a response is
deemed necessary, the named Defendants deny the allegations contained in
Paragraph 73 of the Complaint, together with any and all inferences taken
therefrom.

FOURTH CLAIM FOR RELIEF
Defamation
(All Defendants)

74. The named Defendants incorporate by reference their admissions,
denials and averments contained in Paragraphs 1-73 of the Complaint as if fully
set forth herein.

75. The named Defendants deny the allegations contained in Paragraph
75 of the Complaint, together with any and all inferences taken therefrom.

76. The named Defendants assert the allegations within Paragraph 76 of

Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no

response is required. To the extent a response is deemed necessary, the named

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COMPLAINT FOR DAMAGES - 19 OF 26 103 E. Indiana Ave., Suite A
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Defendants deny the allegations contained in Paragraph 76 of the Complaint,
together with any and all inferences taken therefrom.

77. The named Defendants admit Brady information is made available to
defense counsel and Plaintiff is named in a tort claim, but deny the remaining
allegations contained in Paragraph 77, together with all inferences taken
therefrom.

78. The named Defendants assert the allegations within Paragraph 78 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 78 of the Complaint,
together with any and all inferences taken therefrom.

79. The named Defendants assert the allegations within Paragraph 79 of
Plaintiffs’ Complaint constitute argument and/or legal conclusion, to which no
response is required. To the extent a response is deemed necessary, the named
Defendants deny the allegations contained in Paragraph 79 of the Complaint,

together with any and all inferences taken therefrom.

REQUEST FOR RELIEF
DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC
COMPLAINT FOR DAMAGES - 20 OF 26 103 E. Indiana Ave., Suite A

Spokane, WA 99207
Phone: (509) 290-6968

 
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The named Defendants deny Plaintiff is entitled to the relief sought in the
Request for Relief or to any relief whatsoever. Defendants further deny any and
all allegations of liability, as well as the existence, nature, and extent of Plaintiff's
claimed injuries and damages.

To the extent any allegation contained in Plaintiffs Complaint was not
specifically admitted above, or a lack of knowledge claimed, it is denied.

DEMAND FOR JURY TRIAL
In accordance with F.R.C.P. 38 and pursuant to the 7” Amendment,

Defendants hereby demand this matter appear before a jury.

AFFIRMATIVE DEFENSES
1. Plaintiffs Complaint fails in part to state a claim upon which relief
may be granted.
2. Any and all actions or conduct of which Plaintiff complains

regarding the Defendants in either/both their individual and official capacity were

reasonable at all times relevant hereto and were undertaken in good faith, and

DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC

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without any requisite culpable intent of committing a violation of any of

Plaintiffs clearly established constitutional rights.

3: All actions taken by Defendants with respect to Plaintiff were
undertaken for legitimate reasons and no unlawful factors motivated Defendants’

actions towards Plaintiff.

4. Plaintiff's claim for damages, which are expressly denied, may be

barred in whole or in part by Plaintiff's failure to mitigate his damages.

5, Defendants acted in reasonable belief that their conduct was in

furtherance of the public interest.

6. Any damages allegedly suffered by Plaintiff were caused or
contributed to by his own fault, neglect, lack of care, and/or failure to exercise due
diligence, which serves or ought to serve to bar, and/or mitigate any damages

claimed by Plaintiff.

7. The injuries and damages alleged by the Plaintiff were the fault of

other entities or individuals not under the control of the Defendants.

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8. At all relevant times, Defendants acted in substantial conformity with

applicable policies or practices that are lawful and reasonable.
9. All or part of Plaintiff's claims are subject to estoppel.

10. All or part of Plaintiffs claims have been waived by Plaintiff's own

acts or omissions.

11. Defendant Staben’s actions throughout his investigation of Plaintiff

were reasonable.

12. Defendants are not the proximate cause of any or all of Plaintiff's

alleged damages.

13. Defendants are entitled to qualified immunity pursuant to the Federal
Civil Rights Act because they acted reasonably and in good faith under the settled

law in the circumstances.

14. Any written or oral statements made or otherwise attributed to any or
all of the named Defendants are protected by either a qualified privilege or an

absolute privilege.

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FURTHER, by way of reservation of rights, without waiver, named
Defendants specifically reserve the right to amend this Answer by way of adding
additional Affirmative Defenses, Counter Claims, Cross-Claims, or instituting
third-party actions which may be appropriate after further investigation and

discovery.
DEFENDANTS’ PRAYER FOR RELIEF

Having fully answered Plaintiff's Complaint, the named Defendants request the

following relief:
A. Plaintiffs Complaint be dismissed with prejudice;
B. Plaintiff take nothing from the case;

C. The named Defendants be awarded their costs and attorney's fees

under applicable law; and

D. For such other and further relief as the Court deems just and proper.

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DATED this 10th day of February, 2020.

LAW FIRM OF THOMAS W. McLANE, PLLC

By:__/s/ Thomas W. McLane
Thomas W. McLane, WSBA #12226
Attorneys for Defendants

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CERTIFICATE OF SERVICE

I hereby certify that on the 10th day of February, 2020, I electronically filed
the foregoing with the Clerk of Court using the CM/ECF system, which will then
send a notification of such filing to the following:

Daniel E. Thenell dan@thenelllawgroup.com

Emerson Lenon emerson(@thenelllaweroup.com

By /s/ Thomas W. McLane
Thomas W. McLane

DEFENDANTS’ ANSWER TO AMENDED Law Firm of Thomas W. McLane, PLLC

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